Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 1 of 11   Pageid#:
                                    2661
Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 2 of 11   Pageid#:
                                    2662
Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 3 of 11   Pageid#:
                                    2663
Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 4 of 11   Pageid#:
                                    2664
Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 5 of 11   Pageid#:
                                    2665
Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 6 of 11   Pageid#:
                                    2666
Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 7 of 11   Pageid#:
                                    2667
Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 8 of 11   Pageid#:
                                    2668
Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 9 of 11   Pageid#:
                                    2669
Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 10 of 11
                            Pageid#: 2670
Case 3:04-cr-00047-NKM   Document 1053 Filed 06/15/06   Page 11 of 11
                            Pageid#: 2671
